
968 So.2d 57 (2007)
Vincent A. BROOKS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D07-2663.
District Court of Appeal of Florida, First District.
October 11, 2007.
Vincent A. Brooks, pro se, Petitioner.
Bill McCollum, Attorney General, and Trisha Meggs Pate, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
DISMISSED. Munn v. Fla. Parole Comm'n, 807 So.2d 733 (Fla. 1st DCA 2002).
BROWNING, C.J., BARFIELD and BENTON, JJ., concur.
